


  Proceeding pursuant to CPLR article 78 in the nature of prohibition, inter alia, to prohibit the respondent, Noach Dear, a Justice of the Supreme Court, Kings County, from enforcing two orders dated September 21, 2016, and June 5, 2017, respectively, in an action entitled U.S. Bank, N.A. v Mizell, pending in the Supreme Court, Kings County, under index No. 508980/15.
 

  Adjudged that the petition is denied and the proceeding is dismissed on the merits, without costs or disbursements.
 

  “Because of its extraordinary nature, prohibition is available only where there is a clear legal right, and then only when a court—in cases where judicial authority is challenged—acts or threatens to act either without jurisdiction or in excess of its authorized powers” (Matter of Holtzman v Goldman, 71 NY2d 564, 569 [1988]; see Matter of Rush v Mordue, 68 NY2d 348, 352 [1986]).
 

  The petitioner has failed to establish a clear legal right to the relief sought.
 

  Chambers, J.P., Cohen, Barros and Christopher, JJ., concur.
 
